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EXHIBIT C
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

FEDERAL TRADE COMMISSION and
Case No. 1:17-cv-00124-LLS

THE PEOPLE OF THE STATE OF NEW
YORK, by LETITIA JAMES, Attorney
General of the State of New York,

Plaintiffs,

Vv.

QUINCY BIOSCIENCE HOLDING
COMPANY, INC., a corporation;

QUINCY BIOSCIENCE, LLC, a limited
liability company;

PREVAGEN, INC., a corporation d/b/a
SUGAR RIVER SUPPLEMENTS;

QUINCY BIOSCIENCE
MANUFACTURING LLC, a limited
liability company; and

MARK UNDERWOOD, individual and as
an officer of QUINCY BIOSCIENCE
HOLDING COMPANY, INC., QUINCY
BIOSCIENCE, LLC, and PREVAGEN,
INC,

Defendants.

 

 

DEFENDANTS’ REVISED NOTICE OF DEPOSITION
PURSUANT TO FED. R. CIV. P. 30(B)(6) TO PLAINTIFF

PLEASE TAKE NOTICE THAT pursuant to Rule 30(b)(6) of the Federal Rules of Civil
Procedure, Defendants Quincy Bioscience Holding Company, Inc., Quincy Bioscience, LLC,
Prevagen, Inc., and Quincy Bioscience Manufacturing, LLC (“Quincy” or “Defendants”), by and

through their attorneys, Kelley Drye & Warren LLP, will take the deposition, upon oral
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examination, before a person authorized by law to administer oaths, of plaintiff Federal Trade
Commission (“Plaintiff”) by one or more of its officers, directors, managing agents, or other
persons who consent to testify on its behalf with regard to all matters known or reasonably
available to Plaintiff relating to the subject matter identified in Exhibit A. The deposition will be
conducted via online videoconferencing (links to be provided), at 09:00 a.m. on November 5,
2020, and will continue from day to day until completed. The deposition will be videotaped.
Plaintiff shall designate a person or persons knowledgeable about the facts and
documents supporting, underlying or relating to the subject matter set forth in Exhibit A. Unless
the person or persons to be proffered by Plaintiff will be able to testify as to all of the subjects
identified therein, Plaintiff is requested to identify with precision and in writing reasonably in
advance of the deposition the person or persons who will testify and the subject matter(s) as to
which each person or persons will testify. Pursuant to Rules 30(b)(6) and 34 of the Federal Rules
of Civil Procedure, Plaintiff is requested to produce at the deposition for inspection and copying,
any and all documents which evidence or discuss the areas of inquiry and documents reviewed
and consulted by the persons so designated by Plaintiffs to testify as to each area of inquiry.
PLEASE TAKE FURTHER NOTICE that the oral examination will be recorded by

stenographic means and by video before an officer authorized to administer oaths.
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Dated: October 9, 2020

KELLEY DRYE & WARREN LLP
By: __/s/_ Geoffrey W. Castello
John E. Villafranco (pro hac vice)
Geoffrey W. Castello

Jaclyn M. Metzinger

Glenn T. Graham

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New York, New York 10178

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gcastello@kelleydrye.com
jmetzinger@kelleydrye.com
geraham@kelleydrye.com

 

 

Attorneys for Defendants Quincy Bioscience
Holding Company, Inc., Quincy Bioscience,
LLC, Prevagen, Inc., dba Sugar River
Supplements, and Quincy Bioscience
Manufacturing, LLC
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DEFINITIONS

In addition to the definitions set forth in Rule 26.3 of the Local Rules of the United
States District Courts of the Southern and Eastern Districts of New York, which are expressly
incorporated herein, the following definitions shall be used throughout this notice:

1, “Action” shall mean the lawsuit captioned Federal Trade Commission vy.
Quincy Bioscience Holding Company, Inc., et al., filed in the United States District Court for the
Souther District of New York, Case No. 1:17-cv-00124-LLS.

De “FTC” shall mean plaintiff the United States Federal Trade Commission
and any and all of its current and former trustees, fiduciaries, officers, directors, employees, agents,
representatives, predecessors, successors, attorneys, affiliates and assigns, and any of their officers,
directors, employees, agents and representatives.

3. “NYAG” shall mean plaintiff the People of the State of New York, by
Letitia James, Attorney General of the State of New York and any and all of its current and former
trustees, fiduciaries, officers, directors, employees, agents, representatives, predecessors,
successors, attorneys, affiliates and assigns, and any of their officers, directors, employees, agents
and representatives.

4, “Complaint” shall mean the Complaint for Permanent Injunction and Other
Equitable Relief filed in this Action on or about January 9, 2017 (Dkt. No. 1).

5, “Quincy” shall mean Quincy Bioscience Holding Company, Inc., Quincy
Bioscience, LLC, Prevagen, Inc. d/b/a Sugar River Supplements, and Quincy Bioscience

Manufacturing, LLC, collectively.
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6. “Defendants” shall mean Quincy Bioscience Holding Company, Inc.,
Quincy Bioscience, LLC, Prevagen, Inc. d/b/a Sugar River Supplements, Quincy Bioscience
Manufacturing, LLC, and Mark Underwood, collectively.

7, “Prevagen” shall mean the Prevagen® brand dietary supplement.

8. “Investigation” shall mean the investigation conducted by the Federal Trade
Commission relating to the marketing and advertising of Prevagen® prior to filing the Action.

9. “Concerning” or “concern” shall mean directly or indirectly, in whole or in
part, referring to, relating to, connected with, commenting on, impinging or impacting upon,
affecting, responding to, supporting, pertaining to, showing, describing, analyzing, reflecting, or
constituting.

10. “Correspondence” and “communication(s)” shall refer to any and all written
or electronic communications of any kind, including without limitation, e-mails, text messages,
instant messages, documents, letters, forms, memoranda, reports, notes, worksheets, drafts,
working papers, contracts, agreements, or other papers whether handwritten, typed, printed, or
reproduced photostatically or photographically, including all film, microfilm, photographs,
audiotapes, videotapes, drawings or other visual representations and any computer, magnetic,
mechanical or electronic recordings. The terms “correspondence” and “communication(s)” extend
to and specifically encompass all non-identical copies of any responsive documents and all such
non-identical copies should be produced.

11. “Document” and “documents” are used herein in the broadest sense
possible, and without limitation, to refer to originals (or identical copies where originals are
unavailable), copies with notations, comments, analyses, and post-preparation changes and non-

identical copies of originals, of any tangible source of information of every type and description,
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however, and by whomever created, prepared, produced, reproduced, or disseminated, and
regardless of its location, which is, as of the date of service of these document demands in the
custody of, or in any way subject to the control of you or your attorneys. “Document” and
“documents” also include, but are not limited to, e-mails (including any attachments), text
messages, instant messages, writings, sales transaction receipts, cash register receipts, credit card
receipts, credit card slips, coupons, checkbook registers, advertisements, marketing materials,
letters, minutes, correspondence, telegrams, telexes, faxes, bulletins, instructions, handwritten
notes, typewritten notes, notes, transcriptions, sound recordings of any kind, slides, movie film
and negatives, photographs and their negatives, printouts, minutes of meetings, memoranda, inter-
office communications, studies, analyses, reports, advertisements, sales listings, rental listings,
broker agreements, catalogues, results of investigations, leases, contracts, licenses, agreements,
working papers, statistical records, ledgers, work sheets, books of account, general ledgers, trial
balances, audited and un-audited financial statements, tax returns, vouchers, charge slips, time
sheets or logs, telephone messages or logs, telephone diaries, telephone bills, diaries, purchase
orders, acknowledgements, invoices, price lists, registers, charts, tables, authorizations, budgets,
analyses, projections, brochures, circulars, proofs, sheets, books, magazines, checks, cancelled
checks, life insurance applications, illustrations, notices, bills, premium notices, cancellation
notices, annual reports, notebooks, computer disks, diskettes, electronic communications of any
kind, tapes or any information which can be retrieved from a computer, stenographers’ notebooks,
diaries, desk calendars, or papers similar to any of the foregoing. “Document” and “documents”
are not limited to the manner of representation of any information called for, which includes, but
is not limited to, letters, words, numbers, symbols, characters, electronic data, pictures, graphic

presentations, or sounds, or of any combination thereof. “Document” and “documents” also
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include, but are not limited to, preliminary drafts, versions, or revisions of any of the
aforementioned, and underlying, preparatory, or supporting materials thereto.

12. “Including” means including but not limited to.

13. “Person” refers to both individuals and entities, including without
limitation, any natural person, corporation, division, subsidiary, partnership, proprietorship, firm,
association, company, and joint venture, whether public or private, as well as any governmental
agency, division, or department.

14. “Relating to,” “regarding,” or “concerning,” means in connection with,
constituting, analyzing, connecting, containing, describing, discussing, embodying, evidencing,
reporting or commenting on, inquiring about, setting forth, explaining, reflecting, identifying,
stating, considering, referring to, mentioning, alluding to, or in any way pertaining to, in whole or
in part or having any logical or factual connection whatsoever with the claims or defenses asserted
in this Action.

15. “You” and “Your” shall refer to plaintiff FTC as defined in paragraph 2 of
the definitions set forth herein.

16. “FDA” shall mean the U.S. Food and Drug Administration and any and all
of its current and former trustees, fiduciaries, officers, directors, employees, agents,
representatives, predecessors, successors, attorneys, affiliates and assigns, and any of their officers,
directors, employees, agents and representatives.

17. The phrase “Subject Matter of this Action” means the facts and claims

alleged in the Complaint and generally any claims or defenses of any party to this Action.
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EXHIBIT A
TOPICS

The process and phases of the FTC Investigation including the identity and role of people,
offices, and divisions that participated in the Investigation.

The FTC’s written response identifying judicial and administrative actions and public
investigations dating back ten years in which the primary focus of the case is dietary
supplements promoted for memory or other cognitive benefit.

The bases for and methods of calculating damages, remedies, consumer redress, restitution,
refund, or other relief sought by the FTC in this Action.

Each and every fact that supports, contradicts or otherwise relates to the allegations
contained in paragraph 17 of the Complaint.

Each and every fact that supports, contradicts or otherwise relates to the allegations
contained in paragraph 27 of the Complaint.

Each and every fact that supports, contradicts or otherwise relates to the allegations
contained in paragraph 28 of the Complaint.

Each and every fact that supports, contradicts or otherwise relates to the allegations
contained in paragraph 29 of the Complaint.

Each and every fact that supports, contradicts or otherwise relates to the allegations
contained in paragraph 30 of the Complaint.

Each and every fact that supports, contradicts or otherwise relates to the allegations
contained in paragraph 31 of the Complaint.

Each and every fact that supports, contradicts or otherwise relates to the allegations
contained in paragraph 37, 40, 43 and 45 of the Complaint.

Each and every fact that supports, contradicts or otherwise relates to the allegation in
paragraph 46 of the Complaint that “[c]onsumers have suffered and will continue to suffer
substantial injury as a result of Defendant’s violations of the FTC Act” and that
“Defendants have been unjustly enriched as a result of their unlawful acts or practices.”

All consumer surveys, or other consumer perception materials relating to the FTC’s
allegations that Defendants’ advertising, marketing or labelling of Prevagen is false or
unsubstantiated.

All scientific studies, articles, analyses, meta-analyses or other literature that support,
contradict or otherwise relate to the FTC’s allegations that Defendants’ advertising of
Prevagen is false, misleading, or unsubstantiated.
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All communications, whether written or oral, between the FTC and any medical doctor,
epidemiologist, researcher or other medical or scientific expert regarding any Defendant,
Prevagen, apoaequorin or the Subject Matter of this Action. This topic shall include, but
is not limited to, communications with Dr. Richard P. Bazinet and Dr. Robert C. Speth.

All communications, whether written or oral, between the FTC and FDA regarding any
Defendant, Prevagen, apoaequorin or the Subject Matter of this Action.

All communications, whether written or oral, between the FTC and any state or federal
government agency regarding any Defendant, Prevagen, apoaequorin or the Subject Matter
of this Action.

All communications, whether written or oral, between the FTC and the plaintiffs and/or
their attorneys from the following actions regarding Prevagen, apoequorin or the Subject
Matter of this Action.: Collins, et al. v. Quincy Bioscience, LLC, No. 19-22864-Civ-
COOKE/GOODMAN (S.D. Fla.); Racies v. Quincy Bioscience, LLC, No. 15-cv-00292-
HSG (N.D. Cal.); Vanderwerffv. Quincy Bioscience Holding Co., Inc., et al., No. 1:19-cv-
07582-RA (S.D.N.Y.); Karathanos v. Quincy Bioscience Holding Co., Inc., et al., No.
1:19-cv-08023-RA (S.D.N.Y.); Spath v. Quincy Bioscience Holding Co., Inc., et al., No.
1:19-cv-03521-RA (S.D.N.Y.); Engert, et al v. Quincy Bioscience, LLC, No., 1:19-cv-183-
LY (W.D. Tex.); Miloro v. Quincy Bioscience, LLC, No. 16PH-cv-01341 (Mo. Cir. Ct.).

All communications, whether written or oral, between the FTC and any state prosecutor,
attorneys general or regulator, or any of such state prosecutor’s, attorneys general’s, or
regulator’s employees, attorneys or agents regarding any Defendant, Prevagen,
apoaequorin or the Subject Matter of this Action. This topic shall include, but is not limited
to, communications with the Orange County, California District Attorney’s Office and the
Office of the Attorney General of Iowa.

All communications, whether written or oral, between the FTC and any consumer,
including such consumer’s attorneys or agents, regarding any Defendant, Prevagen,
apoaequorin or the Subject Matter of this Action, including documents sent to that
consumer or such consumer’s attorneys or agents.

All communications, whether written or oral, between the FTC and any non-governmental
consumer protection organizations, including such organizations’ attorneys, employees or
agents, regarding any Defendant, Prevagen, apoaequorin or the Subject Matter of this
Action.

All communications, whether written or oral, between the FTC and any manufacturer or
seller of any dietary supplement relating to brain health, cognition, memory or other brain
functions or any of their employees, attorneys, consultants or agents regarding any
Defendant, Prevagen, apoaequorin or the Subject Matter of this Action.

All communications, whether written or oral, between the FTC and the American
Association of Retired Persons, or any of its employees, attorneys, consultants or agents,
regarding any Defendant, Prevagen, apoaequorin or the Subject Matter of this Action.
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All communications, whether written or oral, between the FTC and Truth In Advertising,
Truth In Advertising.org or TINA.org, or any of its employees, attorneys, consultants or
agents regarding any Defendant, Prevagen, apoaequorin or the Subject Matter of this
Action.

All communications, whether written or oral, between the FTC and any retailer,
wholesaler, reseller, or distributor, including any employees, attorneys, consultants, or
agents of such entities, regarding any Defendant, Prevagen, apoaequorin or the Subject
Matter of this Action.

All communications, whether written or oral, between the FTC and any radio station,
television station, newspaper, magazine, publication, journal, production company, media
company, reporter, journalist, or talk show host, including any employees, attorneys,
consultants, or agents thereof, regarding any Defendant, Prevagen, apoaequorin or the
Subject Matter of this Action.

All communications, whether written or oral, between the FTC and CogState, including
any employees, attorneys, consultants, or agents of CogState, regarding any Defendant,
Prevagen, apoaequorin or the Subject Matter of this Action.

All Freedom of Information Act (“FOIA”) requests sent to or received by the FTC that
relate to any Defendant, Prevagen, apoaequorin or the Subject Matter of this Action,
including the FTC’s responses to such requests and any communications related to such
requests.

The names of each of the FTC’s employees, attorneys, consultants and/or agents who has
met or communicated with the employees, attorneys, consultants and/or agents of any
manufacturer or seller of any dietary supplement relating to brain health, cognition,
memory or other brain functions and, for each such individual, the manufacturer or seller
with whom he or she met or communicated.

The FTC’s responses to any written discovery requests served by Defendants in this
Action.

The procedures that the FTC used to preserve, search for, locate and produce documents
and information responsive to any written discovery requests served by Defendants in this
Action, including the identification of all individuals whose emails, electronic files, and/or
hard copy files were searched for potentially responsive information.

All communications, whether written or oral, between or among the FTC and any of the
FTC’s attorneys or agents, and any medical professional organization, or its employees,
attorneys, consultants or agents regarding any Defendant, Prevagen, apoaequorin or the
Subject Matter of this Action, excluding any communications with consulting or testifying
experts.

All communications, whether written or oral, between the FTC and any United States
Senator or member of the United States House of Representatives, including employees,
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attorneys, consultants, agents, or staff members of such Senators or Representatives,
regarding any Defendant, Prevagen, apoaequorin, or the Subject Matter of this Action.

33, All communications, whether written or oral, between the FTC and James Lugo.
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CERTIFICATE OF SERVICE

I hereby certify that on October 9, 2020, a copy of the within Defendant’s Notice of
Deposition Pursuant to Fed. R. Civ. P. 30(b)(6) to Plaintiff was served by e-mail upon the
following parties and participants:

Michelle Rusk

Annette Soberats

Edward Glennon

Federal Trade Commission
600 Pennsylvania Avenue, NW
Mail Drop CC-10528
Washington, D.C. 20580

mrusk@ftc.gov
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eglennon@ftc.gov

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Michael de Leeuw
Tamar Wise

Cozen O’ Connor

45 Broadway

New York, NY 10006
mdeleeuw@cozen.com

twise@cozen.com

/s/__Glenn Graham

Glenn T. Graham
